              Case 2:16-mj-00094-AC Document 33 Filed 02/02/17 Page 1 of 1

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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,
                                                      CASE NO. 2:16-mj-94 AC
12                               Plaintiff,
                                                      [PROPOSED] ORDER
13                         v.
                                                      COURT: Hon. Allison Claire
14   DUC TAI LE,

15                              Defendant.

16

17         The motion to dismiss the information against Duc Tai Le, made by the Government under

18 Federal Rule of Criminal Procedure 48(a), is granted. The information against Duc Tai Le is dismissed

19 without prejudice.

20         IT IS SO ORDERED.

21 DATED: February 1, 2017

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